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                 EXHIBIT B

  to Brief in support of
 Preliminary Approval of
   Medical Monitoring
  Settlement Agreement
                                                                                  B
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                                                                                         to Br. in Support of
                                                                                       Preliminary Approval
                                                                                       of Medical Monitoring
                     IN THE UNITED STATES DISTRICT COURT                                   Class Settlement
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE PHILIPS RECALLED CPAP,                  :
BI-LEVEL PAP, AND MECHANICAL                  : Master Docket: Misc. No. 21-mc-1230-JFC
VENTILATOR PRODUCTS                           :
LITIGATION                                    : MDL No. 3014
                                              :
This Document Relates to: All Actions         :
Asserting Claims for Medical Monitoring       :


          DECLARATION OF PROPOSED SETTLEMENT CLASS COUNSEL
      IN SUPPORT OF PROPOSED SETTLEMENT CLASS REPRESENTATIVES’
        MOTION FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
        AGREEMENT AND RELEASE OF MEDICAL MONITORING CLAIMS

       The undersigned proposed Settlement Class Counsel (hereinafter “Settlement Class

Counsel”) submit this Declaration in support of proposed Settlement Class Representatives’

Motion for Preliminary Approval of the Class Settlement Agreement and Release of Medical

Monitoring Claims (“Declaration”).1 Settlement Class Counsel hereby declare as follows:

       1.      The statements in this Declaration are made to the best of our personal knowledge,

information, and belief and in our role as Settlement Class Counsel. If called upon to testify, we

could and would testify competently to the truth of the matters stated herein.

       2.      In the nearly three years since this MDL was formed, the Parties and the Court have

expended extraordinary resources to litigate this MDL effectively and expeditiously, including

litigating claims for medical monitoring relief. This effort has led to Settlement Class Counsel

becoming fully informed of the legal and factual issues in this case and the strengths and

weaknesses of Plaintiffs’ claims and the Philips Defendants’ defenses with respect to the



1
 Unless otherwise noted, capitalized terms have the same meaning herein that they have in the
proposed Class Settlement Agreement and Release of Medical Monitoring Claims (“Settlement
Agreement” or “SA”).
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Consolidated Second Amended Class Action Complaint for Medical Monitoring and Demand for

Jury Trial (ECF 815) (the “Medical Monitoring Complaint”). 2

       3.     With respect to the legal issues pertaining to medical monitoring specifically, the

Parties have engaged in substantial briefing on the Philips Defendants’ motion to dismiss the

Medical Monitoring Complaint in its entirety. The Court referred the motion to dismiss to Special

Master Thomas I. Vanaskie, who held oral argument on the motion to dismiss on July 11, 2023

and then issued a Report and Recommendation on September 28, 2023 (ECF 2273). The Parties

filed objections to certain aspects of that Report and Recommendation (ECF 2314, 2316, 2368,

2371), and thereafter, the Court issued an Opinion and Order on February 14, 2024 (ECF 2521,

2522), in which the motion was remanded back to the Special Master to issue a revised Report and

Recommendation. Additional briefing on the motion to dismiss was in progress prior to the

Settlement. As a result of this process, Settlement Class Counsel have become highly informed of

the strengths and weaknesses of the Parties’ respective positions and have insight into how the

Special Master and the Court view those arguments.

       4.     In addition, the Parties engaged in extensive discovery of the relevant facts. The

Parties have propounded and negotiated responses to requests for production of documents and

interrogatories. The Parties have taken more than 50 depositions, which includes those of third

parties and many of the medical monitoring named Plaintiffs; and exchanged millions of

documents on all relevant issues, including extensive testing relating to general causation, both

prior to and after the Recall. The Parties have served about 100 subpoenas for documents pursuant

to Rule 45 and received thousands of documents in response. In addition, the Parties have engaged


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 The “Philips Defendants” refers to Philips RS North America LLC, Koninklijke Philips N.V.,
Philips North America LLC, Philips Holding USA, Inc., and Philips RS North America Holding
Corporation.

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in countless discovery negotiations and disputes before Special Master Carole Katz that have given

Settlement Class Counsel insight into additional discovery that may or may not be available.

Through this process, Settlement Class Counsel have become fully informed of the relevant factual

issues.

          5.    Settlement Class Counsel understand the significant risks of continuing to litigate

the claims for medical monitoring relief, including the risk of not succeeding on the merits, the

risk of not being able to certify a class, the risk of not being able to construct a meaningful medical

monitoring program in the absence of a “signature” injury, and the risk of not being able to ensure

payment of such a program from the Philips Defendants if KPNV was dismissed on its Rule 12

challenges, including as to personal jurisdiction.

          6.    As a result of the extensive briefing on the motion to dismiss the Medical

Monitoring Complaint and the discovery work discussed above, Settlement Class Counsel were

fully informed of all relevant facts and legal issues when they negotiated the Settlement with

counsel for the Philips Defendants. The negotiations were conducted in good faith and at arm’s-

length and overseen by the Court-appointed Settlement Mediator, Hon. Diane M. Welsh (Ret.).

Throughout the negotiations, there were discussions of the strengths and weaknesses of the Parties’

respective positions concerning the merits of the claims being litigated. Given the individualized

issues attendant to claims for medical monitoring relief, the Parties considered numerous factors

impacting the Settlement Class as a whole to reach a resolution that provides cohesive equitable

benefits to all Settlement Class Members.

          7.    A Term Sheet setting forth the general terms of the Settlement was signed on April

26, 2024. The Parties then negotiated the terms of the Settlement Agreement. Throughout the

process, the Parties focused exclusively on benefits for the Settlement Class, and there was no



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discussion or negotiation of attorneys’ fees, costs or expenses for Settlement Class Counsel, or

service awards. In sum, the negotiations were arm’s-length, principled, informed, and sometimes

contentious but always professional.

       8.      The Settlement represents Settlement Class Counsel’s best efforts and judgments

after thoroughly investigating the case, and considering the uncertainty of the viability of the

claims for medical monitoring relief and the difficulties in achieving and maintaining class

certification; the substantial risks, burdens, delays, and costs of continued litigation, including on

Fed. R. Evid. 702 motions, trial, and appeals; and the best interests of the Settlement Class.

       9.      Pursuant to the Settlement Agreement, the Philips Defendants shall make payments

into the Settlement Fund totaling $25,000,000. The Settlement Fund will be used to fund equitable

relief in the form of the proposed comprehensive Medical Advancement Program (“MAP”)

Benefits for a period of fifteen (15) years from the Effective Date:

               a.      MAP Research: the Settlement Administrator, in consultation with the

Parties, and with oversight from the MDL Court, will determine appropriate recipients of grants

to fund independent medical research related to the advancement of public knowledge regarding

the detection, diagnosis, and/or treatment of Qualifying Injuries. The results of the MAP Research,

to the extent medically relevant and valid conclusions are reached, shall be published on the

Settlement Website. SA § 3.1.

               b.      MAP Registry: the Settlement Administrator, in consultation with the

Parties, shall establish a research registry to which Settlement Class Members can elect to submit

authorizations for the release and disclosure of medical information protected by HIPAA, 45 CFR

§ 164.508, for purposes of review and evaluation in connection with the MAP Research. SA § 3.2.




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               c.      MAP Resources: the Settlement Administrator, in consultation with the

Parties, shall establish and maintain an interactive Settlement Website for delivery of MAP

Resources to Settlement Class Members for purposes of increasing access to and understanding of

the Relevant Medical Information and Guidance. SA § 3.3.

       10.     The proposed Settlement Class Representatives have participated throughout the

litigation of the claims for medical monitoring and have fulfilled their responsibilities on behalf of

the Settlement Class by working closely with Settlement Class Counsel on the litigation of those

claims, including reviewing pleadings, responding to Defendants’ document requests and

interrogatories, and being deposed.

       11.     The Settlement represents a thorough, deliberative, and comprehensive resolution

that will provide cohesive equitable relief benefitting all Settlement Class Members.

       12.     Other than those expressly set forth in the Settlement Agreement, the Parties have

not entered into any agreements regarding the Settlement or attorneys’ fees, costs and expenses or

service awards.

       We declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct to the best of our knowledge this 9th day of May 2024.


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